Case 2:11-cr-20148-GCS-MKM ECF No. 42, PageID.108 Filed 12/07/11 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case No. 11-CR-20148
v.
                                                            HON. GEORGE CARAM STEEH

ARMANDO DAVILA, et al.,

                Defendants.
_____________________________________/

     ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS EVIDENCE (#38)
      On October 12, 2011, defendant Armando Davila filed a motion to suppress

evidence relating to the seizure of himself and the vehicle he was driving on March 6,

2009. The matter was fully briefed and the court held a hearing on December 7, 2011.

Counsel for the parties appeared and argued at the hearing and evidence was

presented. For the reasons stated on the record, defendant’s motion to suppress

evidence is denied.

IT IS SO ORDERED.

Dated: December 7, 2011
                                           S/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE


                                   CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                     December 7, 2011, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk
